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                                       November 29, 2017


Hon. Nicholas G. Garaufis
United States District Judge
Eastern District of New York
U.S. Courthouse
225 Cadman Plaza East
Brooklyn, NY 11201

                       Re:    United States v. Mirsad Kandic
                              Cr. Docket No. 17-449 (NGG)

Dear Judge Garaufis:

     I was appointed to represent Mr. Kandic in the                  above-
referenced matter at arraignment, on November 1, 2017.

     I met with him at the Metropolitan Correctional Center earlier
today. In that meeting, he expressed his dissatisfaction with my
services. He would like new counsel and he specifically requested
representation by the Federal Defender Services. I support his
request for new counsel and request a conference for appointment of
new counsel at the Court’s earliest convenience.


                                       Respectfully submitted,



                                       James M. Branden
